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                                                      DATE FILED: January 28, 2022 8:21 AM
   DENVER COUNTY DISTRICT COURT,                      FILING ID: E387AAB09200B
                                                      CASE NUMBER: 2022CV30242
   DENVER COUNTY, COLORADO
   Court              Denver County District Court
   Address:           1437 Bannock Street
                      Denver, CO 80202
                      Telephone: (303) 606-2425
   Plaintiff:         HOPE MEYER

      v.
                                                            COURT USE ONLY 
   Defendant:         DAVID EVANS, SHARP
                      TRANSPORTATION, INC.

   Attorneys for Plaintiff:                              Case Number:
   Corey A. Holton, Atty. Reg. No. 47440
   Julia Barotz, Atty. Reg. No. 52615
   BACHUS & SCHANKER, LLC
   101 W. Colfax Ave., Suite 650
   Denver, Colorado 80202                                Div.:
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          julia.barotz@coloradolaw.net

                           COMPLAINT AND JURY DEMAND

           Plaintiff Hope Meyer, by and through her undersigned attorney of BACHUS

   AND SCHANKER, LLC,     hereby submits a Civil Complaint and Jury Demand against

   Defendants David Evans and Sharp Transportation, Inc., as follows

                                GENERAL ALLEGATIONS

           1.     This matter arises from a motor vehicle collision between Plaintiff and

   Defendant Evans that occurred on July 30, 2020 on northbound Interstate 25 at or

   near the W. 23rd Avenue bridge in Denver, Denver County, Colorado (hereinafter “the

   Collision”).
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           2.    At the time of the Collision, upon information and belief Defendant

   Evans was an agent and/or employee of Defendant Sharp Transportation, driving

   within the course and scope of their agency and/or employment with Defendant Sharp

   Transportation, Inc..

           3.    At all times relevant, Plaintiff was a resident of Grundy County,

   Iowa.

           4.    At all times relevant, upon information and belief, Defendant Evans

   (“Evans”) was a resident of Utah, with a last known address of 44 S. 300 E, Willard,

   Utah 84340.

           5.    At all times pertinent to this action, upon information and belief,

   Defendant Sharp Transportation, Inc. (“Sharp Transportation”) was and is a

   nonresident Wyoming corporation with its principle office located at 390 N 900 E,

   Wellsville, Utah 84339.

           6.    At all times relevant, Defendant Sharp Transportation’s registered

   agent in Utah is Zan Sharp who is located at 390 N. 900 E, Wellsville, Utah 84339.

           7.    Venue in this county is proper pursuant to C.R.C.P. 98(c) since the

   tortious conduct which the claims of Plaintiff are based upon was committed within

   Denver County, Colorado.

                              FACTUAL ALLEGATIONS

           8.    At the time of the Collision, Defendant Evans was driving a 2017

   Freightliner semi-truck, Utah license plate A019681 (hereinafter “the Semi Truck”).


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          9.     The Semi Truck was owned by Defendant Sharp Transportation.

          10.    At the time of the Collision, upon information and belief, Defendant

   Evans was driving Semi Truck with the express or implied permission of Defendant

   Sharp Transportation.

          11.    At the time of the Collision, upon information and belief, Defendant

   Evans was an employee of Defendant Sharp Transportation.

          12.    At the time of the Collision, upon information and belief, Defendant

   Evans was an agent of Defendant Sharp Transportation.

          13.    At the time of the Collision, upon information and belief, Defendant

   Evans was driving the Semi Truck within the course and scope of his employment

   with Defendant Sharp Transportation.

          14.    At the time of the Collision, upon information and belief, Defendant

   Evans was driving the Semi Truck within the course and scope of his agency with

   Defendant Sharp Transportation.

          15.    At the time of the Collision, upon information and belief, Defendant

   Evans had a commercial driver’s license issued by the State of Utah.

          16.    At the time of the Collision, upon information and belief, the Semi Truck

   was a “Commercial Motor Vehicle” as defined by 49 C.F.R. § 390.5.

          17.    At the time of the Collision, Plaintiff was driving a 2006 Buick LaCrosse

   (“the Buick”). .

          18.    Immediately prior to the Collision, Plaintiff was driving northbound on


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   Interstate 25 in the number 2 lane, just south of the W 23rd Avenue bridge.

          19.    Immediately prior to the Collision, Plaintiff was stopping for traffic.

          20.    Immediately prior to the Collision, Samson Sapp was driving a 2011

   Toyota Tacoma pickup, directly behind Plaintiff.

          21.    Immediately prior to the Collision, Alejandro Mendoza-Martinez was

   driving a 2004 Chevy Silverado directly behind Samson Sapp.

          22.    Immediately prior to the Collision, Defendant Evans was driving the

   Semi Truck directly behind Alejandro Mendoza-Martinez.

          23.    The Collision occurred when Defendant Evans failed to stop or slow the

   Semi Truck, crashing into the rear of Mr. Mendoza-Martinez’s Chevy Silverado,

   causing Mr. Mendoza-Martinez to be pushed into the rear of Mr. Sapp’s Toyota

   Tacoma, causing Mr. Sapp to be pushed into the rear of Plaintiff’s Buick.

          24.    Defendant Evan’s failure to stop or slow the semi-truck caused a four

   vehicle collision.

          25.    The Denver PD investigated the Collision.

          26.    The Denver PD determined that Defendant Evans was at-fault for the

   Collision.

          27.    Plaintiff reported injuries to the investigating police officers.

          28.    At the time of the Collision, Defendant Evans operated a motor vehicle,

   more specifically the Semi Truck, in a negligent manner.

          29.    Defendant Evans’s negligent operation of a motor vehicle caused the


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   Collision.

         30.    As a direct and proximate result of the Collision, Plaintiff sustained

   injuries, damages, and/or losses.

         31.    Plaintiff has incurred a medical charge of at least one dollar for any

   medical treatment for any injury, no matter how small, as a result of the Collision.

                               FIRST CLAIM FOR RELIEF
                              (Negligence – Defendant Evans)

         32.    The foregoing statements and allegations are incorporated herein.

         33.    At the time of the Collision, Defendant Evans owed Plaintiff a duty to

   use reasonable care in the operation of a motor vehicle.

         34.    At the time of the Collision, Defendant Evans breached the duty of care

   to Plaintiff, without limitation, by:

                       a.     failing to keep a proper lookout;

                       b.     being distracted;

                       c.     following too closely;

                       d.     operating a commercial motor vehicle in a negligent

                manner; and

                       e.     causing a motor vehicle collision with Plaintiff.

         35.    The Collision was a cause of the injuries sustained by Plaintiff.

         36.    The Collision occurred as a direct and proximate result of Defendant

   Evans’s negligence in the operation of a motor vehicle.

         37.    As a direct and proximate result of the Collision, Plaintiff sustained

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   damages, including past and future: economic losses, including medical bills, lost

   wages, loss of ability to earn money, and other expenses; noneconomic losses,

   including physical and mental pain and suffering, inconvenience, emotional stress,

   and impairment of the quality of life; physical impairment and disfigurement.

                             SECOND CLAIM FOR RELIEF
                           (Negligence Per Se – Defendant Evans)

          38.    The foregoing statements and allegations are incorporated herein.

          39.    At the time of the Collision, Defendant Evans drove a motor vehicle

   without due regard for traffic, traffic signals, use of the streets, traffic laws and other

   attendant circumstances or in violation of a state or municipal traffic code, which

   constituted negligence per se.

          40.    At the time of the Collision, C.R.S. § 42-4-1402 Careless Driving (“the

   Statute”) was in effect in the State of Colorado.

          41.    A violation of the Statute constitutes negligence on the part of the

   Defendant Evans.

          42.    The purpose of the Statute is to protect against the type of injuries the

   Plaintiff suffered as a result of the Collision.

          43.    Plaintiff is a member of the group of persons the Statute was intended

   to protect.

          44.    Defendant Evans’s violation of the Statute was a cause of Plaintiff’s

   injuries, damages or losses.

          45.    As a direct and proximate result of Defendant Evans’s negligence per se,

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   Plaintiff sustained damages, including past and future: economic losses, including

   medical bills, lost wages, loss of ability to earn money, and other expenses;

   noneconomic losses, including physical and mental pain and suffering, inconvenience,

   emotional stress, and impairment of the quality of life; physical impairment and

   disfigurement.

                            THIRD CLAIM FOR RELIEF
                (Respondeat Superior – Defendant Sharp Transportation )

         46.    The foregoing statements and allegations are incorporated herein.

         47.    At the time of the Collision, Defendant Evans was the agent of

   Defendant Sharp Transportation.

         48.    At the time of the Collision, Defendant Evans was the employee of

   Defendant Sharp Transportation.

         49.    At the time of the Collision, Defendant Evans was acting within the

   scope of Defendant Evans’s employment and authority with Defendant Sharp

   Transportation.

         50.    At the time of the Collision, Defendant Evans was performing acts which

   were in furtherance of the business interests of Defendant Sharp Transportation, in

   the regular course of business for Defendant Sharp Transportation, and connected to

   Defendant Evans’s work with Defendant Sharp Transportation .

         51.    As a direct and proximate result of the act or omissions of Defendant

   Sharp Transportation ’s agents or employees, Plaintiff sustained damages, including

   past and future: economic losses, including medical bills, lost wages, loss of ability to

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   earn money, and other expenses; noneconomic losses, including physical and mental

   pain and suffering, inconvenience, emotional stress, and impairment of the quality of

   life; physical impairment and disfigurement.

         WHEREFORE, Plaintiff requests judgment against Defendants in an amount

   to be determined at trial for damages, including past and future: economic losses,

   including medical bills, lost wages, loss of ability to earn money, and other expenses;

   noneconomic losses, including physical and mental pain and suffering, inconvenience,

   emotional stress, and impairment of the quality of life; physical impairment and

   disfigurement; attorney’s fees; interest on all damages at the highest rate allowed by

   law computed from the date of the injury; costs and expenses; and any other relief

   the Court deems just and proper.

                                      JURY DEMAND

         Plaintiff demands a trial to a jury of six (6) on all triable issues.

         DATED: January 28, 2022.
                                            BACHUS & SCHANKER, LLC

                                            /s/ Corey A. Holton
                                            ______________________________
                                            Corey A. Holton, #47440
                                            Julia Barotz, #52615
                                            Attorneys for Plaintiff

   Plaintiff’s Address
   21759 I Ave
   Grundy Center, IA 50638




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